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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA
                                  CHARLOTTESVILLE DIVISION

   IRA D. SOCOL,
                                                     CASE NO. 3:18-cv-00090
                                     Plaintiff,

                           v.                         ORDER

   ALBEMARLE COUNTY SCHOOL
   BOARD, et al.,                                     JUDGE NORMAN K. MOON

                                    Defendants.

        This matter is before the Court on its own motion. All non-dispositive pretrial motions and

 issues are hereby referred to United States Magistrate Judge Joel C. Hoppe pursuant to 28 U.S.C.

 § 636(b)(1)(A).

        It is so ORDERED.

        The Clerk of Court is directed to send this Order to all counsel of record.

        Entered this 7th        day of May, 2021.
